                       Case 1-18-43971-cec                           Doc 2    Filed 07/11/18     Entered 07/11/18 10:23:15
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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
         ---------------------------------------------X                              Chapter     11
 IN RE:  Brooklyn Buildings LLC
                                                                                     Case No.:

                                      Debtor(s)                                      STATEMENT PURSUANT TO LOCAL RULE 2017
                  ---------------------------------------------X

I, Jonathan S. Pasternak, an attorney admitted to practice in this Court, state:

1. That I am the attorney for the above-named debtor(s) and am fully familiar with the facts herein.

2. That prior to the filing of the petition herein, my firm rendered the following services to the
   above-named debtor(s):

                                      Date\Time                              Services

                                                                             Initial interview, analysis of financial
                                      July 5, 2018                           condition, etc.

                                                                             Preparation and review of
                                      July 6, 2018                           Bankruptcy petition

3. That my firm will also represent the debtor(s) at the first meeting of creditors.

4. That all services rendered prior to the filing of the petition herein were rendered by my firm.

5. That my usual rate of compensation of bankruptcy matters of this type is $                                           620.00   .

Dated: July 11, 2018

                                                                        /s/ Jonathan S. Pasternak
                                                                        Jonathan S. Pasternak
                                                                        Attorney for debtor(s)
                                                                        DelBello Donnellan Weingarten Wise &
                                                                        Wiederkehr, LLP
                                                                        One North Lexington Avenue
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